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		OSCN Found Document:IN RE ADDITION OF A NEW RULE TO THE RULES OF THE COURT OF CRIMINAL APPEALS

					

				
  



				
					
					
						
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				IN RE ADDITION OF A NEW RULE TO THE RULES OF THE COURT OF CRIMINAL APPEALS2020 OK CR 6Case Number: CCAD-2020-1Decided: 05/21/2020IN RE: ADDITION OF A NEW RULE TO THE RULES OF THE COURT OF CRIMINAL APPEALS
Cite as: 2020 OK CR 6, __  __

				

ORDER ADOPTING NEW PROCEDURAL RULE
IN THE COURT OF CRIMINAL APPEALS



¶1 We find that a Rule should be adopted by this Court to acknowledge the abatement procedure set forth in Majors v. State, 2020 OK CR 5, ¶¶ 8, 9, ____ P.3d _____. Pursuant to Section 41 of Title 20 and Section 1051 of Title 22 of the Oklahoma Statutes, we hereby add, adopt, and promulgate this new Rule of the Rules of the Oklahoma Court of Criminal Appeals, Title 22, Ch.18, App. (2020), set forth as follows:



Section III. PERFECTING AN APPEAL IN THE COURT OF CRIMINAL APPEALS

Rule 3.17 Motion to Abate Appeal

A. Procedure. If a defendant dies while his or her appeal is pending before this Court, the personal representative of the deceased defendant's estate may petition this Court to finalize the appeal. See Majors v. State, 2020 OK CR 5, __ P.3d __.

1. Petition of Personal Representative. Upon the filing of a motion to abate a pending appeal, this Court shall issue an order allowing the personal representative thirty (30) days to petition this Court. The petition must show good cause as to why the pending appeal should proceed.

2. Dismissal. If no petition is filed within thirty (30) days of this Court's order, or the petition does not establish good cause, the appeal will be dismissed.

a. If the appeal is dismissed, the trial court shall make note in the district court file that the defendant's conviction removed his presumption of innocence. The notation shall further state that the conviction was appealed, but was neither affirmed or reversed because the defendant died while the appeal was pending.



¶2 IT IS THEREFORE ORDERED AJDJUDGED AND DECREED that this Rule shall become effective on the date of this order.

¶3 IT IS SO ORDERED.

¶4 WITNESS OUR HANDS AND THE SEAL OF THIS COURT this 21st day of May, 2020.


/S/DAVID B. LEWIS, Presiding Judge



/S/DANA KUEHN, Vice Presiding Judge
(see my dissent in Majors v. State 2020 OK CR 5)



/S/GARY L. LUMPKIN, Judge



/S/ROBERT L. HUDSON, Judge
(special concur see Majors v State 2020 OK CR 5)



/S/SCOTT ROWLAND, Judge


&nbsp;

ATTEST:
John D. Hadden
Clerk






	Citationizer© Summary of Documents Citing This Document
	
	
		
		Cite
		Name
		Level
		
	
	
	Title 22. Criminal Procedure
&nbsp;CiteNameLevel

&nbsp;22 O.S. Rule 3.17, Motion to Abate AppealCited


	
	
	Citationizer: Table of Authority
	
	
		
		Cite
		Name
		Level
		
	
	
	None Found.
	
	








				
					
					
				

		
		

	
		
			
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